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UNITED STATES DISTRICT COURT
SOUTI'IERN DISTRICT OF CALIFORNIA

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,
v.

LOUIS V. SCHOOLER and FIRST
FINANCIAL PLANNING
CORPORATION d/b/a WESTERN
FINANCIAL PLANNI`NG
CORPORATION,

Defenda;nts.

 

 

 

 

Case No. 12 CV 2164 GPC JMA

JOINT MOTION FOR:

1. CONSOLIDATION OF HEARING
DATES FOR MOTION FOR ASSET
FREEZE AND MOTION FOR
PARTIAL SUMMARY JUDGMENT
2. REQUEST OF ORAL ARGUMENT
FOR MOTION FOR ASSET FREEZE
AND MOTION FOR PARTIAL
SUMMARY JUDGMENT

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Plaintiff Securities and Exchange Commission ("Plaintiff’) and Defendants
Louis V. Schooler (“Schooler”) and First Financial Planning Corporation dfb/a
Western Financial Planning Corporation (“Western”)(collectively, “Defendants”)
have met and conferred and hereby submit this Joint Motion for Consolidation of
Hearing Dates for Plaintiff’s Motion for Partial Summary Judgment (Dkt. No. 685)
and Plaintiff’s Motion for Asset Freeze (Dkt. Nos. 862, 864) to be held on March
27, 2015, at 1:30 p.m., to the extent that the Court Will hear oral argument

Currently, the Motion for Asset Freeze is scheduled to be heard on March
20, 2015, and the Motion for Partial Summary Judgment is scheduled for hearing
on March 27, 2015. However, the motions are overlapping because the Motion for
Asset Freeze is intended to secure Mr. Schooler’s assets in anticipation of
satisfaction of the order of disgorgement and judgment of liability that Plaintiff
seeks in the Motion for Partial Summary Judgment. Therefore, Defendants have
submitted oppositions to both Motions With similar arguments, Which in turn has
resulted in the parties moving jointly to allow Plaintiff to file one consolidated
brief of not more than 30 pages by March 6, 2015 to address both oppositions, _
Which joint motion was granted by this Court. See Dkt. Nos. 980, 981, 998.

Because of the overlapping nature of the Motion for Asset Freeze and the
Motion for Partial Summary Judgment, consolidating the hearings on both motions
to March 27, 2015, Would benefit the Court and all parties.

Furthermore, because of the issues at stake in Plaintiff’s Motions for Asset
Freeze and Motion for Partial Summary Judgment - a potential adjudication of
liability against Defendants for the offering and/or sale of unregistered securities,
the seeking of disgorgement of over 3152 million plus over $9 million in pre-
judgment interest, and the total freezing of Mr. Schooler’s assets - and the

substantial amount of Written briefing and supporting exhibits, oral argument is

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written briefing.

DATED: March 5, 2015

 

 

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necessary for addressing particular issues the Court may have that arise from the

Respectfully Submitted,

/s/ Sam S. Puathasnanon

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/s/Philip H. Dvson

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